       Case 2:20-cv-01863-ACA Document 78 Filed 05/31/22 Page 1 of 4                 FILED
                                                                            2022 May-31 PM 12:19
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

LANITRA JETER,                        )
                                      )
            Plaintiff,                )
                                      )
v.                                    ) Case No. 2:20-CV-01863-ACA
                                      )
DANNY CARR, in his official           )
capacity as District Attorney         )
of Jefferson County,                  )
                                      )
            Defendant.                )

              EVIDENTIARY SUBMISSION IN SUPPORT OF
               THE MOTION FOR SUMMARY JUDGMENT

      COMES NOW the Defendant, Danny Carr in his official capacity as Jefferson

County District Attorney (“DA Carr”), and hereby submits the following evidence

in support of his previously filed Motion for Summary Judgment [Doc. 77]:

      A.    Exhibit A - Deposition of Judy Yates and exhibits thereto

      B.    Exhibit B - Plaintiff’s Interrogatory Responses

      C.    Exhibit C - Deposition of Lanitra Jeter and exhibits thereto

      D.    Exhibit D - Deposition of Danny Carr and exhibits thereto

      E.    Exhibit E - Deposition of Joe Roberts and exhibit thereto

      F.    Exhibit F - November 6, 2019 Email

      G.    Exhibit G - Affidavit of Micheal McCurry and supporting documents
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H.       Exhibit H - Memorandum of Understanding between Office of
         Prosecution Services and Jefferson County District Attorney’s Office

I.       Exhibit I - September 16, 2019 Comp Time Request

J.       Exhibit J - Affidavit of Judy Yates and supporting documents

K.       Exhibit K - July 26, 2019 and July 31, 2019 Emails

L.       Exhibit L - Docket information for State of Alabama v. Marquetta
         Murrell, Case No. DC-2019-002783

M.       Exhibit M - Docket information for State of Alabama v. Marquetta
         Murrell, Case No. DC-2019-002784

N.       Exhibit N - Docket information for State of Alabama v. Marquetta
         Murrell, Case No. DC-2019-008628

O.       Exhibit O - Affidavit of Warren Brooks

P.       Exhibit P - Lanitra Jeter Text Messages

Q.       Exhibit Q - Lanitra Jeter Pictures

R.       Exhibit R - November 8, 2019 and November 12, 2012 Emails

S.       Exhibit S - Affidavit of Joe Roberts

T.       Exhibit T - November 21, 2019 Text Messages

U.       Exhibit U - Denise Curier Profile

V.       Exhibit V - “March 11, 2020: The Day Everything Changed” from
         npr.org

W.       Exhibit W - March 16, 2020 and March 17, 2020 Emails

X.       Exhibit X - EEOC Material (Previously Filed as Doc. [35-1])
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     Y.   Exhibit Y - July 3, 2019 Emails

     Z.   Exhibit Z - September 23, 2019 Comp Time Request

     AA. Exhibit AA – October 16, 2019 Emails

                            Respectfully submitted,


                            /s/ James E. Murrill, Jr.
                            Robert R. Riley, Jr. (ASB-0909-168A)
                            James E. Murrill, Jr. (ASB-4329-A57M)

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                         CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2022, a copy of the foregoing was
electronically filed with the Clerk of the Court using the Pacer system, which sends
notification of such filing to the following counsel of record in this cause:

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                                /s/ James E. Murrill, Jr.
                                OF COUNSEL
